           Case 5:20-cv-01278-R Document 28 Filed 10/27/21 Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

KATHRYN MCDANIEL,                          )
                                           )
                     Plaintiff,            )
                                           )
v.                                         )       No. CIV-20-1278-R
                                           )
LEGEND ENERGY SERVICES,                    )
LLC.,                                      )
                                           )
                     Defendant.            )


                        ADMINISTRATIVE CLOSING ORDER

       Pursuant to the Court being advised by counsel for the Defendant of the filing of a

petition in bankruptcy by the Defendant, it is hereby ordered that the Clerk administratively

terminate this action in her records without prejudice to the rights of the parties to reopen

the proceedings for good cause shown, for the entry of any stipulation or order for any

other purpose required to obtain a final determination of the litigation, within (7) days after

the termination of the bankruptcy proceeding, or any order of the Bankruptcy Court

granting Plaintiff relief from the automatic stay.. The parties are further notified that the

administrative termination of this action shall in no way affect any applicable statute of

limitations, provided that this action was originally filed within the proper time.

       IT IS SO ORDERED this 27th day of October 2021.
